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12                       UNITED STATES DISTRICT COURT
13                     CENTRAL DISTRICT OF CALIFORNIA
14                               SOUTHERN DIVISION
15   TCT MOBILE (US) INC. AND               Case No. 8:20-cv-00702-JVS-ADS
     HUIZHOU TCL MOBILE
16   COMMUNICATION CO. LTD.                 DEFENDANT CELLULAR
                                            COMMUNICATIONS
17                      Plaintiffs,         EQUIPMENT LLC’S RENEWED
                                            MOTION TO DISMISS THE
18          vs.                             COMPLAINT OR, IN THE
                                            ALTERNATIVE, TO STAY;
19   CELLULAR COMMUNICATIONS                MEMORANDUM OF POINTS AND
     EQUIPMENT LLC,                         AUTHORITIES IN SUPPORT OF
20                                          MOTION TO DISMISS
                        Defendant.
21                                          [Filed Concurrently with
                                            Declarations of Jeffrey R. Bragalone,
22                                          Jonathan H. Rastegar and Stephanie
                                            R. Wood]
23
                                            Date:        August 3, 2020
24                                          Time:        1:30 p.m.
                                            Courtroom:   10C
25                                          Judge:       Hon. James V. Selna.
26

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     DEFENDANT’S RENEWED MOTION TO DISMISS OR, IN THE              8:20-cv-00702-JVS-
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 1          TO ALL PARIES AND TO THEIR ATTORNEYS OF RECORD
 2        PLEASE TAKE NOTICE that on August 3, 2020 at 1:30 p.m., or as soon
 3 thereafter as the Motion may be heard at the United States District Court, located at

 4 411 West Fourth Street, Court Room 10C, Santa Ana, CA 92701, Defendant

 5 Communications Equipment (“CCE”) respectfully moves this Court for an Order

 6 dismissing the Amended Complaint which seeks declaratory judgment of non-

 7 infringement of U.S. Patent No. 7,218,923 (“the ’923 patent” or “the patent-in-suit”),

 8 on the grounds that the first-filed action in the United States District Court for the

 9 Eastern District of Texas (the “Texas Lawsuit”) involves the same issues and

10 substantially similar parties.

11        Alternatively, should the Court decline to dismiss the Amended Complaint in
12 favor of the Texas Lawsuit, CCE respectfully moves this Court for an Order staying

13 this case pending the final resolution, including any appeal, of the Texas Lawsuit on

14 the ground that such a stay would conserve judicial resources and protect CCE from

15 duplicative litigation without subjecting Plaintiffs to prejudice.

16        The Motion is based upon this Notice of Motion, the attached Memorandum
17 of Points and Authorities, the supporting Declarations of Jeffrey R. Bragalone of

18 Jonathan H. Rastegar, the [Proposed] Order lodged concurrently herewith, the

19 Court’s file on this matter, and upon such and further evidence and argument as may

20 be presented prior to or at the time of the hearing on this Motion.

21        This Motion is made following the conferences of counsel pursuant to L.R. 7-
22 3 which took place on June 8, 2020 and July 1, 2020.

23 Dated July 6, 2020                Respectfully submitted
24
                                     By: /s/ Stephanie R. Wood
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     DEFENDANT’S RENEWED MOTION TO DISMISS OR, IN THE                   8:20-cv-00702-JVS-
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 1                    STATEMENT OF ISSUE TO BE DECIDED
 2        This is not the first-filed lawsuit on this matter. On March 17, 2020, Cellular
 3 Communications Equipment LLC (“CCE”) filed suit in the U.S. District Court for

 4 the Eastern District of Texas (the “Texas Lawsuit”). In the first-filed Texas Lawsuit,

 5 CCE asserts that Plaintiff Huizhou TCL Mobile Communication Co. Ltd.’s

 6 (“Huizhou TCL”) and TCL Corporation, the corporate parent company of Huizhou

 7 TCL and TCT Mobile (US) Inc. (“TCT”), infringe U.S. Patent. No. 7,218,923 (the

 8 “’923 patent”). The Texas Lawsuit concerns the same patent, the same Accused TCL

 9 Products, and substantially the same parties as this derivative action. Nevertheless,

10 more than three weeks after the filing of the Texas Lawsuit, and after the defendants

11 negotiated for an extended period of time to answer in that case, Huizhou TCL and

12 TCT initiated this lawsuit, asking this Court to issue declaratory judgment that the

13 same Accused TCL Products at issue in the Texas Lawsuit do not infringe the ’923

14 patent. Under these circumstances, should the Court apply the first-to-file rule and

15 dismiss or stay the instant action?

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 1               MEMORANDUM OF POINTS AND AUTHORITIES
 2 I. INTRODUCTION

 3         CCE requests the Court dismiss or stay pursuant to Rule 12(b)(3) because
 4 venue is improper pursuant to the first-to-file rule. The first-to-file rule allows

 5 district courts to decline jurisdiction when a complaint involves substantially similar

 6 parties and issues that are already before another district court. The Plaintiffs filed

 7 the Complaint in this matter well after CCE filed an infringement action involving

 8 the same patents and same accused products in the Eastern District of Texas against

 9 the Plaintiffs’ parent company, TCL Corporation (“TCL Corp.”), and one of TCL

10 Corp.’s subsidiaries (the “Texas Lawsuit”). Since that Complaint, additional TCL

11 subsidiaries, including Plaintiff Huizhou TCL, have been added as defendants in the

12 Texas Lawsuit. CCE’s prior lawsuit has priority over this case under the first-to-file

13 rule because (a) it was filed weeks before this lawsuit, (b) the lawsuits involve

14 substantially similar parties—CCE and overlapping TCL entities—and (c) both

15 lawsuits involve substantially similar issues—namely, the infringement of the same

16 patent-in-suit via the same accused products. No exception to the first-to-file rule

17 applies. Given the inefficiencies that will result if this case continues, the Defendant

18 CCE respectfully requests the Court dismiss or stay the instant case.

19         In addition, this case should be dismissed under Rule 12(b)(6) because the
20 Complaint fails to allege sufficient facts, which if accepted as true, would state a

21 claim for relief that is plausible on its face. Indeed, Plaintiffs fail to identify even

22 one limitation of CCE’s patent that is not present in the Accused TCL Products, much

23 less recite anything about the operation of its products or services from which one

24 could draw that inference.

25 II.     STATEMENT OF FACTS
26         Plaintiffs filed this action, seeking declaratory judgment of non-infringement
27 of U.S. Patent. No. 7,218,923 (the “ʼ923 patent”), on April 9, 2020. Weeks earlier,

28 on March 17, 2020, CCE filed a patent infringement lawsuit for infringement of the

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     DEFENDANT’S RENEWED MOTION TO DISMISS OR, IN THE                     8:20-cv-00702-JVS-
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 1 same ʼ923 patent in the United States District Court for the Eastern District of Texas

 2 against TCL Corporation—Plaintiffs’ ultimate            corporate parent—and TCL
 3 Corporation’s subsidiaries in a case styled Cellular Communications Equipment

 4 LLC v. TCL Corporation and TCL Electronics Holdings Limited, Case No. 2:20-cv-

 5 00080 (the “Texas Lawsuit”). See also Ex. A, American Patents LLC v. TCL Corp.,

 6 et al, Case No. 4:18-cv-767-ALM, ECF No. 52 at p. 2 (E.D. Tex. Mar. 7, 2019)

 7 (identifying TCL Corp. as both Plaintiffs’ ultimate corporate parent). In the Texas

 8 Lawsuit, CCE alleges that these TCL entities infringe the ʼ923 patent by making,

 9 using, selling, offering to sell, and/or importing mobile phones using version 4.2 and

10 higher of the Android Operating system (the “Accused TCL Products”).

11         On April 6, counsel for CCE received an email from Mr. Jeffrey Johnson, who
12 identified himself as counsel for the TCL parties. Ex. B, Extension Emails, at p. 5;

13 Bragalone Decl. at ¶ 2. In response, counsel for CCE, Mr. Jeff Bragalone and Mr.

14 Jonathan Rastegar, conferred with Mr. Johnson on April 6 regarding an extension of

15 time for TCL to answer in the Texas Lawsuit. Bragalone Decl. at ¶ 3. During the call,

16 outside counsel for TCL stated that his clients would agree to waive service of

17 process in exchange for a five-month extension of their answer date. Id. When

18 counsel for CCE questioned why TCL needed such a lengthy extension, Mr. Johnson

19 said a five-month extension was necessary because of the current travel restrictions

20 resulting from the COVID-19 pandemic, and that he needed to travel to China to

21 meet with his clients in order to prepare their defenses. Id. Mr. Johnson also raised

22 the issue of the TCL entities that were defendants in the case. Id., at ¶ 5. Mr. Johnson

23 said that he believed that one of the entities we had sued was not involved in the

24 manufacturing of the accused devices, and should be dismissed. Id. Mr. Bragalone

25 indicated that CCE had already been looking into that issue and would be amending

26 CCE’s complaint very soon to add additional defendants. Id.

27         Counsel for CCE informed counsel for TCL that, since TCL’s answer date was
28 Thursday, April 9, CCE was willing to agree to a courtesy extension of TCL’s answer

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 1 date of up to thirty days, but that counsel for CCE could not agree to a lengthy five-

 2 month extension of the TCL entities’ answer date without discussing it with CCE.

 3 Bragalone Decl. at ¶ 4. Later that day (April 6), Mr. Johnson confirmed TCL’s

 4 proposal in writing. Ex. B at p. 4; Bragalone Decl. at ¶ 6.

 5         On April 9, 2020, Counsel for TCL sent an email requesting that the parties
 6 “tell something to the Court today,” given that TCL’s answer date was that day. Ex.

 7 B at pp. 3-4; Bragalone Decl. at ¶ 7. Counsel for the parties held a brief call later that

 8 day. During the call, counsel for CCE again informed Mr. Johnson that CCE planned

 9 to file an amended complaint to add two additional TCL entities to the Texas

10 Lawsuit. Bragalone Decl. at ¶ 7. As such, counsel for CCE informed Mr. Johnson

11 that CCE was willing to agree to the proposed five-month extension provided that

12 TCL agreed to waive service of the amended complaint, as opposed to the original

13 complaint. Id.; Ex. B at p. 2; Mr. Johnson inquired when CCE would file the

14 amended complaint and counsel for CCE told him that it would either be that day

15 (April 9) or the next. Ex. B at p. 2; Bragalone Decl. at ¶ 7.

16         Mr. Johnson said that he would need to confirm his clients’ agreement to
17 accept service of the Amended Complaint, and because he was unable to secure their

18 agreement that day, the parties agreed to file an unopposed motion for a thirty-day

19 extension of time for the TCL entities to answer the Complaint. Bragalone Decl. at

20 ¶ 7.

21         Shortly after the April 9 call, counsel for CCE wrote to confirm that “TCL
22 Corporation and subsidiaries of TCL Corporation” agreed to waive service of CCE’s

23 Amended Complaint. Ex. B at p. 2; Bragalone Decl. at ¶ 8. In the April 9 email, CCE

24 again informed TCL that it would “file an Amended Complaint either today or

25 tomorrow.” Ex. B at p. 2; Bragalone Decl. at ¶ 8.

26         Later that day, CCE filed Unopposed Applications for Extension of Time to
27 Answer Complaint for the TCL parties in the Texas Lawsuit. At no time during his

28 negotiation for an extension of time to answer the Complaint in the Texas Action did

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     DEFENDANT’S RENEWED MOTION TO DISMISS OR, IN THE                      8:20-cv-00702-JVS-
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 1 counsel for TCL suggest, much less state, that TCL was in the midst of filing a

 2 declaratory judgment action relating to the same patent. Bragalone Decl. at ¶ 9.

 3        Yet that same day, after securing a five-month courtesy extension in the first-
 4 filed Texas Lawsuit, TCL subsidiaries TCT and Huizhou TCL filed this declaratory

 5 judgment action. Indeed, TCL’s April 9, 2020 Complaint concedes that “CCE filed

 6 a lawsuit in the U.S. District Court for the Eastern District of Texas alleging

 7 infringement of the ’923 Patent.” Dkt. No. 1 at ¶ 3. On April 10, 2020, CCE filed an

 8 Amended Complaint in the earlier filed Texas Lawsuit, specifically naming TCL

 9 Communication Technology Holdings Ltd., Huizhou TCL Mobile Communication

10 Co. Ltd., and TCT Mobile International Ltd. in the Texas Lawsuit. Cellular Comm’n

11 Equipment LLC v. TCL Corp. et al, Case No. 2:20-cv-00080, ECF No. 9 (E.D. Tex.

12 Apr. 10, 2020). On April 26, 2020, each TCL defendant in the Texas Lawsuit

13 executed waivers of service for the Amended Complaint in the Texas Lawsuit. Id. at

14 ECF Nos. 11-15 (E.D. Tex. Apr. 26, 2020); Bragalone Decl. at ¶ 10.

15        The Eastern District of Texas has an extensive history with the ’923 patent.
16 On eighteen prior occasions, CCE asserted the ʼ923 patent—each time in the Eastern

17 District of Texas. And courts in the Eastern District of Texas have even issued claim

18 construction orders for the ʼ923 patent on multiple occasions. Rastegar Decl. at ¶¶

19 2-3. Further, the Eastern District of Texas is also home to two other pending suits

20 that assert the ʼ923 patent, and accuse similar products manufactured by other

21 foreign defendants. Id. at ¶ 4.

22        On June 8, CCE filed a motion to dismiss or stay this action pursuant to Rule
23 12(b)(3) and 12(b)(6). Dkt. No. 17. TCL did not file an opposition to the motion to

24 dismiss or stay. Essentially conceding that, in its rush to the courthouse, TCL failed

25 to meet even the minimal requirements of Rule 12(b)(6), TCL filed an amended

26 complaint on June 22. Dkt. No. 20. The amended complaint does not moot CCE’s

27 currently unopposed motion to dismiss or stay pursuant to Rule 12(b)(3).

28 Nonetheless, to avoid suggestion that it is not continuing to press its motion to

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     DEFENDANT’S RENEWED MOTION TO DISMISS OR, IN THE                   8:20-cv-00702-JVS-
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 1 dismiss or stay based on the first-to-file rule, CCE renews its motion to dismiss

 2 pursuant to Rule 12(b)(3).

 3 III.    ARGUMENTS AND AUTHORITIES
 4         Pursuant to the first-to-file rule, the Court should dismiss or stay this action.
 5 “When two actions that sufficiently overlap are filed in different federal district

 6 courts, one for infringement and the other for declaratory relief, the declaratory

 7 judgment action, if filed later, generally is to be stayed, dismissed, or transferred to

 8 the forum of the infringement action.” Futurewei Techs., Inc. v. Acacia Research

 9 Corp., 737 F.3d 704, 708 (Fed. Cir. 2013); Merial Ltd. v. Cipla Ltd., 681 F.3d 1283,

10 1299 (Fed. Cir. 2012). The application of the first-to-file rule is a question of patent

11 law. Futurewei, 737 F.3d at 708 (“Resolution of whether the second-filed action

12 should proceed presents a question sufficiently tied to patent law that the question is

13 governed by this circuit’s law.”).

14         The first-to-file rule allows a court “to decline jurisdiction when a complaint
15 involving substantially similar parties and issues has already been filed in another

16 district court.” Futurewei, 737 F.3d at 707; see also Kohn L. Group, Inc. v. Auto Parts

17 Mfg. Mississippi, Inc., 787 F.3d 1237, 1239 (9th Cir. 2015). This first-to-file rule

18 exists to “avoid conflicting decisions and promote judicial efficiency.” Merial, 681

19 F.3d at 1299. To that end, the Federal Circuit applies “a general rule favoring the

20 forum of the first-filed case.” Elecs. for Imaging, Inc. v. Coyle, 394 F.3d 1341, 1347

21 (Fed. Cir. 2005); Barnes & Noble, Inc. v. LSI Corp., 823 F. Supp. 2d 980, 986 (N.D.

22 Cal. 2011) (“In patent litigation, the first-filed action is preferred.”). Although

23 discretionary, deviating from the first-to-file rule requires “sound reason that would

24 make it unjust or inefficient to continue the first-filed action.” Elecs. For Imaging,

25 394 F.3d at 1347.

26         “Three threshold factors should be considered in deciding whether to apply
27 the first-to-file rule and thereby dismiss or stay the later-filed suit: (1) the chronology

28 of the two actions; (2) the similarity of the issues; and (3) the similarity of the

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 1 parties.” WP Banquet, LLC v. Lowe’s Companies, Inc., No. 2:16-CV-02137-

 2 CAS*GJSx), 2016 WL 4472933, at *2 (C.D. Cal. Aug. 24, 2016). Here, all three of

 3 these factors favor applying the rule to dismiss or stay this declaratory judgment

 4 action. Thus, CCE requests the Court dismiss or stay the current lawsuit.

 5     A. The Chronology of the Actions Favors Application of the First-to-File
 6         Rule.
 7         The first-to-file analysis ordinarily “start[s] by analyzing which lawsuit was
 8 filed first.” Kohn, 787 F.3d at 1240. Here, the Texas Lawsuit is the first-filed action.

 9 CCE filed the Texas Lawsuit on March 17, several weeks before TCL’s April 9

10 Complaint seeking declaratory judgment. Accordingly, the chronology favors

11 application of the first-to-file rule. See Deol Transp., Inc. v. Certain Underwriters at

12 Lloyd’s, London, Lloyd’s Policy, No. CV 2:18-09754 (SJO) (SKx), 2019 WL 988688,

13 at *2 (C.D. Cal. Jan. 29, 2019) (finding “[t]he chronology factor is met” when the

14 first action was filed “two full weeks before” the second action; see also Wallerstein

15 v. Dole Fresh Vegetables, Inc., 967 F. Supp. 2d 1289, 1294 (N.D. Cal. 2013)

16 (applying first-to-file rule where second-filed suit was filed “over three weeks

17 later”); EMC Corp. v. Bright Response, LLC, No. C-12-2841, 2012 WL 4097707, at

18 *2 (N.D. Cal. Sept. 17, 2012) (finding the first factor satisfied where the first action

19 was filed twenty-seven days before the second action).

20         Nevertheless, CCE anticipates that TCL may argue that the April 10 Amended
21 Complaint in the Texas Lawsuit makes this the first-filed action. Notwithstanding

22 the fact that CCE filed its Amended Complaint in the Texas Lawsuit more than two

23 months before TCL filed its amended complaint in this case, TCL’s anticipated

24 argument is flawed. “In determining the chronology, the court should consider the

25 date on which the original, rather than the amended, complaint was filed.” Randall

26 May Int’l Inc. v. Pearl Corp., SACV-13-00016 (JVS) (RNBx), 2013 WL 12130018,

27 at *2 (C.D. Cal. June 3, 2013) (citing Guthy-Renker Fitness, LLC v. Icon Health &

28 Fitness, Inc., 179 F.R.D. 264, 270 (C.D. Cal. 1998)). “A number of courts have held

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 1 that the filing of a complaint triggers the first-filed rule, regardless of whether the

 2 plaintiff later amends the complaint.” Barnes & Noble, Inc. v. LSI Corp., 823 F.

 3 Supp. 2d 980, 987-88 (N.D. Cal. 2011) (collecting cases). This approach “comport[s]

 4 with the general liberality of Rule 15.” Id. at 988. Thus, the date of CCE’s Original

 5 Complaint in the Texas Lawsuit controls, and there is no question that CCE first filed

 6 the Original Complaint weeks before Plaintiffs filed the complaint in this case.

 7         1. Should the Court analyze the relation back doctrine, CCE’s
 8            Amended Complaint relates back to its original Complaint.
 9
           Although, the proper approach is to rely on the date of the original Complaint
10
     to determine chronology, some courts nevertheless analyze the relation back
11
     doctrine. See Barnes & Noble, 823 F. Supp. 2d at 988-91 (applying both views and
12
     determining that a plaintiff’s amended complaint related back “to the extent [the
13
     plaintiff] must demonstrate relation back.”). Under the relation back doctrine, an
14
     amended complaint “is considered to have been the first filed, even if it was not
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     chronologically first, if the claims relate back to an original complaint that was
16
     chronologically filed first.” Halo Electronics, Inc. v. Bel Fuse Inc., No. C–07–06222
17
     RMW, 2008 WL 1991094, at *2 (N.D. Cal. May 5, 2008); Randall May, 2013 WL
18
     12130018, at *3.
19
           CCE’s Amended Complaint in the Texas Lawsuit relates back to the first-filed
20
     original Complaint. Rule 15(c) provides that an amendment adding a new defendant
21
     relates back to the original complaint when Rules 15(c)(1)(B) and 15(c)(1)(C) are
22
     satisfied. Under Rule 15(c)(1)(B), an amendment relates back when it “asserts a
23
     claim or defense that arose out of the conduct, transaction, or occurrence set out-or
24
     attempted to be set out-in the original pleading.” FED. R. CIV. P. 15(c). Here, this
25
     requirement is satisfied. The original and Amended Complaint in the Texas Lawsuit
26
     arise from the same conduct, transaction, or occurrence—namely the infringement
27
     of the ʼ923 patent by the Accused TCL Devices. Indeed, TCL’s declaratory judgment
28
     action concedes that it arises out of the facts alleged in the original Texas Lawsuit:
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 1            This relief is necessary because CCE filed a lawsuit in the U.S.
              District Court for the Eastern District of Texas alleging
 2            infringement of the ’923 Patent in a case captioned Cellular
              Communications Equipment LLC v. TCL Corporation and TCL
 3            Electronics Holdings Limited, Case No. 2:20-cv-00080 (the
              “Texas Lawsuit”). … The Texas Lawsuit alleges infringement of
 4            the ’923 Patent by mobile phones using version 4.2 and higher
              of the Android Operating system, including TCL Plex, TCL 10
 5            Pro, TCL 10L, and TCL 5G (the “Accused TCL Products”).
 6   Dkt. No. 1 at ¶ 10.
 7         Rule 15(c)(1)(C) requires only that, within 90 days of service of the original
 8 complaint, the added party “received such notice of the action that it will not be

 9 prejudiced in defending on the merits and[] knew or should have known that the

10 action would have been brought against it, but for a mistake concerning the proper

11 party’s identity.” FED. R. CIV. P. 15(c). Here, these requirements are satisfied: not

12 only did CCE file the Amended Complaint within 90 days, but all Defendants in the

13 Texas Lawsuit (including the added Defendants) executed waivers of service within

14 the 90-day period. Texas Lawsuit, ECF Nos. 11-15 (E.D. Tex. Apr. 26, 2020);

15 Bragalone Decl. ¶ 10. Notably, CCE inadvertently omitted certain TCL entities and

16 expressly told TCL that it would be amending the Complaint to include additional

17 TCL subsidiaries. Bragalone Decl. ¶¶ 4-5, 7-8. Further, Plaintiffs in this lawsuit

18 allege in the Complaint that there was a mistake concerning the proper party’s

19 identity. Dkt. No. 1 ¶¶ 12-13. Accordingly, CCE’s Amended Complaint satisfies the

20 requirements of Rule 15(c) and relates back.

21         This is consistent with the historic view of the relation back doctrine. “The
22 Supreme Court has interpreted the relation back doctrine liberally, to apply if an

23 amended pleading ‘relate[s] to the same general conduct, transaction and occurrence’

24 as the original pleading.” Anza Tech., Inc. v. Mushkin, Inc., 934 F.3d 1359, 1368

25 (Fed. Cir. 2019), cert. denied, 140 S. Ct. 849 (2020) (quoting Tiller v. Atl. Coast Line

26 R.R. Co., 323 U.S. 574, 580–81 (1945)). The Federal Circuit has generally followed

27 this approach adopting the logical relationship test for determining whether an

28 amendment relates back. Anza, 934 F.3d at 1368-69. The logical relationship test

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 1 “asks whether the facts underlying the alleged claims share an aggregate of operative

 2 facts.” Id. at 1369. Key considerations in applying the test “include the overlap of

 3 parties, products or processes, time periods, licensing and technology agreements,

 4 and product or process development and manufacture.” Id. Here each of these factors

 5 favor a finding that the Amended Complaint in the Texas Lawsuit relates back to

 6 filing of the Original Complaint.

 7     B. The Similarity of the Parties Favors Dismissal or Stay.
 8         The parties to the Texas Lawsuit and this case substantially overlap, thus
 9 warranting application of the first-to-file rule. This factor “does not require exact

10 identity of the parties,” but instead “requires only substantial similarity of parties.”

11 Kohn, 787 F.3d at 1240; Microchip Tech., 2011 WL 2669627, at *3. “The parties can

12 be considered similar for purposes of the first-to-file rule if the ‘additionally named

13 defendants in the two actions are merely derivative ... of the primary parties.’” Int’l

14 Growers Supply, Inc. v. Atlantis Hydroponics, Inc., CV 12-03274 SJOJ (EMx), 2012

15 WL 13013415, at *2 (C.D. Cal. Aug. 8, 2012).

16         Here, the parties to the Texas Lawsuit and this case are substantially similar.
17 CCE and Huizhou TCL are parties to both cases. By itself, this is enough to find the

18 parties to the Texas Lawsuit and this matter are substantially similar. Moreover, TCT,

19 the only party in this case that is not a party to the Texas Lawsuit, is an entity

20 connected to the primary party to the Texas Lawsuit (e.g., TCL Corp.). Ex. A,

21 American Patents LLC v. TCL Corp., et al, Case No. 4:18-cv-767-ALM, ECF No.

22 52 at p. 2 (E.D. Tex. Mar. 7, 2019) (identifying TCL Corp. as TCT’s ultimate

23 corporate parent). Indeed, courts have repeatedly held that a subsidiary, such as TCT,

24 is a substantially similar party to its corporate parent, such as TCL Corp. See, e.g.,

25 Medtronic v. Edwards Lifesciences Corp., No. SACV 11-0961 JVS (MLGx), 2012

26 WL 12888673, at *1 (C.D. Cal. Jan. 9, 2012) (finding the parties similar—even

27 “though some of the parties are ‘different corporate entities’”—when all actions

28 involved Edwards Lifesciences Corporations and its subsidiaries, and Medtronic,

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     DEFENDANT’S RENEWED MOTION TO DISMISS OR, IN THE                     8:20-cv-00702-JVS-
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 1 Inc. and its subsidiaries.); KCC Class Action Servs., LLC v. Aetna, Inc., No. CV 18-

 2 1018-JFW(JEMx), 2018 WL 5094907, at *4 (C.D. Cal. Apr. 20, 2018) (finding

 3 parties to be similar under the first-to-file rule when the parties were affiliates);

 4 Microchip Tech., 2011 WL 2669627, at *3 (finding that the parties were substantially

 5 similar because, although plaintiff in second-filed action was not a party in the first-

 6 filed action, it was a wholly-owned subsidiary of a defendant in the first-filed

 7 action); see also Cadence Design Sys., Inc. v. OEA Int’l, Inc., No. CV11-0713, 2011

 8 WL 4403619, at *3 (N.D. Cal. Sept. 20, 2011) (applying the first-to-file rule to

 9 declaratory judgment claims filed by a customer, when the customer was not a party

10 to a first-filed action against manufacturer); Proofpoint, Inc. v. InNova Patent

11 Licensing, LLC, No. 5:11-CV-02288, 2011 WL 4915847, at *7 (N.D. Cal. Oct. 17,

12 2011) (applying the first-to-file rule to declaratory judgment claims filed by a

13 supplier, when the supplier was no longer a party to a first-filed action against

14 supplier’s customers); Interactive Fitness Holdings, LLC v. Icon Health & Fitness,

15 Inc., No. 10-CV-04628, 2011 WL 1302633, at *3 (N.D. Cal. Apr. 5, 2011) (applying

16 the first-to-file rule to declaratory judgment claims filed by successor-in-interest of

17 accused products, when successor-in-interest was not a party to a first-filed action

18 against its predecessor-in-interest). Considering the substantial overlap between the

19 parties to the Texas Lawsuit and this case, the similarity of parties favors application

20 of the first-to-file rule.

21         C. The Similarity of the Issues Favors Dismissal or Stay.
22            The sole issue in the present case is identical to an issue already present in the
23 Texas Lawsuit: whether the Accused TCL Products infringe the ’923 patent.1 This

24 fact alone is enough to find that the cases present similar issues. See, e.g., EMC Corp.

25

26
     1
         In addition to the issue of infringement of the ’923 patent by the TCL Accused

27
     Products, the Texas Litigation also includes CCE’s claim for damages and other

28
     available relief, a claim that is not contemplated by the declaratory judgment action
     of this case.
                                                  10
         DEFENDANT’S RENEWED MOTION TO DISMISS OR, IN THE                     8:20-cv-00702-JVS-
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 1 v. Bright Response, LLC, C-12-2841 EMC, 2012 WL 4097707, at *2 (N.D. Cal.

 2 Sept. 17, 2012) (finding that issues are similar when the actions concern the same

 3 patent); Guthy-Renker Fitness, LLC v. Icon Health & Fitness, Inc., 179 F.R.D. 264,

 4 270 (C.D. Cal. 1998) (concluding that the similarity of the issues requirement was

 5 met where the first action sought declaratory judgment of five patents and damages

 6 for tortious interference while the second action was for patent infringement of only

 7 one of the five patents). Moreover, both cases will involve similar evidentiary

 8 disputes and claim construction arguments. See, e.g., Int’l Growers Supply, 2012 WL

 9 13013415, at *3. Further, the identical overlap between the patent and the infringing

10 technology in these cases favors application of the first-to-file rule. See TimeKeeping

11 Sys., Inc. v. DwellingLIVE, Inc., No. SA CV 16-1207 DOC (SKx), 2016 WL

12 9086657, at *2 (C.D. Cal. Sept. 9, 2016) (finding the issues to be substantially

13 similar where the cases involved the same patent, even when the cases involved

14 different accused products); Juniper Networks, Inc. v. Mosaid Techs. Inc., No. C 11-

15 6264, 2012 WL 1029572, at *2 (N.D. Cal. Mar. 26, 2012) (applying the first-to-file

16 rule where cases involved the same patents and accused products). Therefore, this

17 factor favors application of the first-to-file rule to dismiss or stay this case.

18     D. No Exception to the First-to-File Rule Applies.
19         There are certain circumstances where a court may refrain from applying the
20 first-to-file rule, including the customer-suit, bad faith, anticipatory suit, and forum

21 shopping exceptions. See Alltrade, Inc. v. Uniweld Prods., Inc., 946 F.2d 622, 627-

22 28 (9th Cir. 1991); Kahn v. Gen. Motors Corp., 889 F.2d 1078, 1081 (Fed. Cir. 1989).

23 None of these circumstances are present.

24         The customer-suit exception applies “where the first suit is filed against a
25 customer who is simply a reseller of the accused goods, while the second suit is a

26 declaratory judgment action brought by the manufacturer of the accused goods.”

27 Kahn, 889 F.2d at 1081. This exception does not apply. According to Plaintiffs’

28 Complaint in this case, TCT does not manufacture the Accused TCL Products, but

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 1 instead imports those products. Dkt. 1 ¶ 14. Further, TCT is not a defendant in the

 2 Texas Lawsuit. See Ex. C, Texas Lawsuit, EFC No. 9 (E.D. Tex. Apr. 10, 2020). And

 3 while Plaintiffs’ Complaint alleges that Huizhou TCL manufactures the Accused

 4 TCL Products (Dkt. 1 ¶ 13), Huizhou TCL, as well as other accused manufacturers,

 5 are defendants in the Texas Lawsuit. See Ex. C. This exception does not apply.2

 6            The bad-faith exception applies “when the plaintiff in the first action induces
 7 the other party to rely, in good faith, on representations made by the plaintiff that it

 8 will not file first in order to preempt the other party from filing a suit in its preferred

 9 forum.” Therapy Stores, Inc. v. JGV Apparel Grp., LLC, No. 4:16-cv-02588, 2016

10 WL 4492583, at *5 (N.D. Cal. Aug. 26, 2016). “Filing first to establish tactical

11 advantage over the defendant is not ‘bad faith.’” Id. “Nor is bad faith established

12 merely because one of the parties engaged in good-faith negotiations decides to file

13 suit.” Id. There is no evidence that CCE represented to TCL Corp. or any of its

14 subsidiaries that it would not file a lawsuit before a certain time. Accordingly, the

15 bad-faith exception does not apply.

16            Indeed, it is TCL who acted in bath faith by precuring an extension in the
17 Texas Lawsuit. On April 6, outside counsel for TCL Corp. and Huizhou TCL

18 requested a five-month extension in the Texas Lawsuit because the COVID-19

19 pandemic prevented adequate communication with his Chinese client. Bragalone

20 Decl. ¶ 3. However, at the same time that counsel for TCL claimed to be unable to

21 discuss a defense with his clients, Huizhou TCL—a Chinese company—was

22 obviously able to communicate with the same TCL counsel to file a copy-cat,

23 derivative suit in this district. Moreover, TCL refused to give more than a 30-day

24

25
     2
         Indeed, even if TCL Corp. or another defendant in the Texas Lawsuit were

26
     Huizhou TCL’s or TCT’s customer, these entities are still part of the TCL

27
     mothership, and “the purpose of the customer-suit exception [is not] served where

28
     the purported ‘customer’ is also the owner … of the manufacturer.” See SAES
     Getters S.p.A. v. Aeronext, Inc., 219 F. Supp. 2d 1081, 1093 (S.D. Cal. 2002).
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 1 extension in this case (Bragalone Decl. ¶ 11), presumably because they hope to use

 2 the outsized extension of the deadline to answer in the Texas Lawsuit—gained via a

 3 misrepresentation—to advance this second-filed case ahead of the Texas Lawsuit.

 4 As is apparent from TCL’s ability to file this declaratory judgment action, the

 5 COVID-19 pandemic did not prevent TCL from assessing its defenses, nor did it

 6 necessitate a 5-month extension in the Texas Lawsuit. And using a disease that has

 7 killed over 500,000 people in an ill-conceived attempt to put this action on a faster

 8 track than the Texas Lawsuit is reprehensible. The Court should not reward TCL’s

 9 gamesmanship.

10        The anticipatory-suit exception applies if the plaintiff in the first-filed action
11 filed suit “upon receipt of specific, concrete indications that a suit by the defendant

12 was imminent.” Younger Mfg. Co. v. Essilor Int'l Compagnie Generale D. Optique,

13 No. CV 13-01210 (JVS)(PJWx), 2013 WL 12131286, at *2 (C.D. Cal. May 29,

14 2013). Here, no TCL entity gave CCE any indication that it was going to file a

15 declaratory judgment action. Bragalone Dec. ¶ 10. Indeed, TCL’s strategy to obtain

16 an extension in the Texas Lawsuit required that TCL conceal their plan to file a

17 declaratory action. Accordingly, the anticipatory-suit exception does not apply. See

18 Younger Mfg., 2013 WL 12131286, at *2. And here again, TCL’s conduct merits

19 review of this exception. On both April 6 and April 9, CCE informed TCL that is

20 intended to amend its Complaint to include additional TCL subsidiaries. With this

21 information, TCL rushed to this Court to file its Complaint before CCE could amend

22 its Complaint. The need for TCL to file an Amended Complaint in order to satisfy

23 Rule 12(b)(6) evidences the rushed nature of its actions. To the extent this exception

24 applies, the Court should dismiss or stay this case.

25        The forum-shopping exception applies only when a party files “a federal
26 action to ‘avoid adverse rulings made in [another] court or to gain a tactical

27 advantage from the application of federal court rules.’” Cardoza v. T-Mobile USA

28 Inc., No. 08-5120, 2009 WL 723843, at *3 (N.D. Cal. Mar. 18, 2009). In filing the

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 1 Eastern District of Texas actions, CCE is not attempting to avoid any adverse court

 2 rulings from this Court or any other court. The Central District of California has not

 3 made any rulings with respect to the ’923 patent. Indeed, each district court matter

 4 involving this patent was before a court in the Eastern District of Texas. Rastegar

 5 Dec. ¶ 2. Further, CCE did not gain a tactical advantage in the application of federal

 6 law by filing in the Eastern District of Texas, as both courts apply federal law. See

 7 Easton-Bell Sports, Inc. v. E.I. DuPont de Nemours & Co., No. 13-cv-00283, 2013

 8 WL 1283463, at *6 (N.D. Cal. Mar. 26, 2013) (“The operative substantive law is

 9 federal and would not motivate forum shopping.”).

10        Indeed, this Court may presume that TCL engaged in forum shopping by
11 seeking to avoid the Eastern District of Texas, likely in an effort to ask a different

12 court re-do the existing claim constructions. See Fair Isaac Corp. v. PCI-U, LLC,

13 No. 5:17-cv-03324, 2017 WL 4877452, at *5 (N.D. Cal. Oct. 30, 2017) (“Although

14 FICO’s true motives are unknown, it is self-evident that FICO filed the instant action

15 in response to PCI-U’s first-filed suit, which strongly suggests forum shopping.”).

16 Indeed, patent infringement matters involving the ’923 patent have been in Eastern

17 District of Texas eighteen times, resulting in numerous orders and opinions of the

18 from the district, including discovery motions, Daubert motions, and three claim

19 construction orders. Rastegar Dec. ¶¶ 2-3. The apparent effort at forum-shopping by

20 TCL requires that the case be dismissed or, in the alternative, stayed.

21 IV.    CONCLUSION
22        CCE respectfully requests the Court dismiss or stay this action pending
23 resolution of the first-filed Texas Lawsuit. The Texas Lawsuit involves the identical

24 issue and near-identical parties. Further, the Eastern District of Texas is the logical

25 home of this dispute: the Eastern District of Texas is intimately familiar with this

26 ’923 patent and its underlying technology, entertaining discovery disputes, Daubert

27 disputes and issuing multiple discovery-related, Daubert, and claim construction

28 orders. Moreover, two lawsuits filed within days of the Texas Lawsuit are currently

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 1 pending in the Eastern District of Texas. Thus, dismissing or staying this case in

 2 favor of the Texas Lawsuit will conserve judicial resources and lessen the burden on

 3 all parties.

 4

 5        Dated July 6, 2020       Respectfully submitted
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 1                          CERTIFICATE OF SERVICE
 2        I hereby certify that on July 6, 2020, I electronically filed the foregoing
 3 document using the Court’s ECF system which will electronically serve the same

 4 upon all counsel of record.

 5

 6
                                   By: /s/ Ben Davidson
                                   Ben M. Davidson (SBN: 242572)
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